Case 1:23-cv-03754-BAH   Document 36-10   Filed 01/08/25   Page 1 of 14




              EXHIBIT 9
       Case 1:23-cv-03754-BAH               Document 36-10                 Filed 01/08/25                Page 2 of 14


From:            Houghton-Larsen, M Annie
To:              "Joe Sibley"
Cc:              Gottlieb, Michael; Governski, Meryl Conant; MacCurdy, Maggie; Timothy Parlatore, Esq.
Subject:         RE: Kerik Deposition - 3/20/2023
Date:            Friday, March 17, 2023 12:19:32 PM
Attachments:     image001.jpg


Joe,

We will provide you with a zoom link shortly.

To be clear, we were contemplating providing Mr. Giuliani’s deposition testimony on an AEO basis
simply because we would object to Mr. Kerik reviewing the transcript before he testifies on the same
subjects, whereas we believe it would be appropriate and productive for Mr. Parlatore to review it to
evaluate the privilege issues he has raised. If we can agree on those general parameters, we’re
happy to share it and we would certainly agree there’s no designation on it – this is merely an
agreement on how to use the transcript until Monday.

Thank you,
Annie


M.Annie Houghton-Larsen
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers

From: Joe Sibley <sibley@camarasibley.com>
Sent: Friday, March 17, 2023 12:04 PM
To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Timothy Parlatore,
Esq. <Timothy.Parlatore@parlatorelawgroup.com>
Subject: Re: Kerik Deposition - 3/20/2023

                                      *** EXTERNAL EMAIL ***

Annie,

I will not be personally attending the deposition.

I will need to appear virtually. Please confirm a virtual link/access will be provided.

Also, please send a copy of Giuliani's transcript if you have it. I have not yet received a copy.
I do not recall the specific parameters of what RG said in his depo about Kerik, only
generalities. I'm not sure why there would be AEO designation on it where there is nothing
designated as confidential nor a protective order issued in the case. At minimum, please send
      Case 1:23-cv-03754-BAH          Document 36-10           Filed 01/08/25         Page 3 of 14


portions of the transcript wherein Kerik is discussed.

Best,

Joe




On Thu, Mar 16, 2023 at 11:39ௗAM Houghton-Larsen, M Annie <MHoughton-
Larsen@willkie.com> wrote:

  Joe,

  Please let us know if you will be attending so we can let building security know.

  Thanks,
  Annie


  M.Annie Houghton-Larsen
  Willkie Farr & Gallagher LLP
  787 Seventh Avenue | New York, NY 10019-6099
  Direct: +1 212 728 8164 | Fax: +1 212 728 9164
  mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
  Pronouns: she, her, hers


  From: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
  Sent: Wednesday, March 15, 2023 9:26 PM
  To: 'Timothy Parlatore, Esq.' <timothy.parlatore@parlatorelawgroup.com>
  Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
  <MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Joe Sibley
  <sibley@camarasibley.com>
  Subject: RE: Kerik Deposition - 3/20/2023

  Thank you. That shouldn’t be a problem.


  M.Annie Houghton-Larsen
  Willkie Farr & Gallagher LLP
  787 Seventh Avenue | New York, NY 10019-6099
  Direct: +1 212 728 8164 | Fax: +1 212 728 9164
  mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
  Pronouns: she, her, hers


  From: Timothy Parlatore, Esq. <timothy.parlatore@parlatorelawgroup.com>
  Sent: Wednesday, March 15, 2023 9:11 PM
  To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
  Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
 Case 1:23-cv-03754-BAH                 Document 36-10             Filed 01/08/25         Page 4 of 14


<MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Joe Sibley
<sibley@camarasibley.com>
Subject: RE: Kerik Deposition - 3/20/2023

                                    *** EXTERNAL EMAIL ***

I do accept service, on the conditions previously discussed in this email chain, though I
would like to start at 10:30 instead.




CONFIDENTIAL NOTICE: This E-mail (including any attachments) is covered by the Electronic
Communications Privacy Act, 18 U.S.C. Sections 2510-2521, is confidential, and may be legally privileged. If you
are not the intended recipient, you are hereby notified that any retention, dissemination, distribution, or
copying of this communication is strictly prohibited. If you have received the message in error, please reply to
notify the sender and then delete the message. Thank you.

https://lcardapp.com/lcard/timothy.parlatore-51814



On Wed, Mar 15 2023 at 21:06, M Annie Houghton-Larsen <MHoughton-
Larsen@willkie.com> wrote:
 Mr. Parlatore,

 Per our negotiations below, please find attached a revised subpoena for Mr. Kerik’s deposition
 on March 20 at 9:30 AM in Willkie’s DC offices. Our understanding is that you have agreed to
 accept service on behalf of Mr. Kerik of the attached subpoena via this email. If you have a
 different view, please tell us otherwise by COB tomorrow. We look forward to seeing you
 Monday.

 Mr. Sibley, this email constitutes notice to Defendant (although we believe you’ve already been
 provided with notice from prior emails about this deposition below).

 Annie


 M.Annie Houghton-Larsen
 Willkie Farr & Gallagher LLP
 787 Seventh Avenue | New York, NY 10019-6099
 Direct: +1 212 728 8164 | Fax: +1 212 728 9164
 mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
 Pronouns: she, her, hers


 From: Timothy Parlatore, Esq. <timothy.parlatore@parlatorelawgroup.com>
 Sent: Wednesday, March 15, 2023 4:51 PM
Case 1:23-cv-03754-BAH                 Document 36-10             Filed 01/08/25          Page 5 of 14


To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Joe Sibley
<sibley@camarasibley.com>
Subject: RE: Kerik Deposition - 3/20/2023

                                    *** EXTERNAL EMAIL ***

We can do Monday next week, if you want to just shift it to DC.




CONFIDENTIAL NOTICE: This E-mail (including any attachments) is covered by the Electronic
Communications Privacy Act, 18 U.S.C. Sections 2510-2521, is confidential, and may be legally privileged. If
you are not the intended recipient, you are hereby notified that any retention, dissemination, distribution, or
copying of this communication is strictly prohibited. If you have received the message in error, please reply to
notify the sender and then delete the message. Thank you.

https://lcardapp.com/lcard/timothy.parlatore-51814




On Wed, Mar 15, 2023 at 3:56 PM, Houghton-Larsen, M Annie <MHoughton-
Larsen@willkie.com> wrote:
  Mr. Parlatore,

  We appreciate your response, but we need a commitment to a deposition date before we
  agree to release the properly served subpoena for next Monday. Please provide us dates by
  tomorrow afternoon so that we can evaluate schedules and make proper arrangements, and
  please also respond in writing (so there can be no later dispute on the issue) that you are
  agreeing to accept service, by email, of a revised subpoena reflecting the new location and
  date. I want to be clear that if you do not agree to that condition, we will not release the
  subpoena for March 20.

  As for your questions regarding privilege, that discussion should not hold up our agreeing to a
  date. That having been said, we would consent to sharing Mr. Giuliani’s deposition transcript
  with you on an Attorneys’ Eyes Only basis to facilitate your evaluation of the privilege issues at
  stake so long as Mr. Sibley consents.

  Mr. Sibley, we understand you are traveling today, but please advise at your earliest
  opportunity whether your client consents to our sharing Mr. Giuliani’s deposition transcript
  on an Attorney’s Eyes Only basis with Mr. Parlatore to assist him in his evaluation of privilege
  issues.
Case 1:23-cv-03754-BAH               Document 36-10            Filed 01/08/25          Page 6 of 14



 Thank you,
 Annie




 M.Annie Houghton-Larsen
 Willkie Farr & Gallagher LLP
 787 Seventh Avenue | New York, NY 10019-6099
 Direct: +1 212 728 8164 | Fax: +1 212 728 9164
 mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
 Pronouns: she, her, hers


 From: Timothy Parlatore, Esq. <timothy.parlatore@parlatorelawgroup.com>
 Sent: Wednesday, March 15, 2023 12:29 PM
 To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
 Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
 <MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Joe Sibley
 <sibley@camarasibley.com>
 Subject: RE: Kerik Deposition - 3/20/2023

                                   *** EXTERNAL EMAIL ***

 I am getting dates from him now.

 As to your point about the privilege issue, can you send me a copy of Mr. Giuliani's
 deposition, so that we can see what areas he did not invoke privilege on? I suspect this
 will help us move much more efficiently, as I do not know what, if any, privilege
 waivers have been effected and will understandably want to err on the side of caution in
 invoking privilege.




 CONFIDENTIAL NOTICE: This E-mail (including any attachments) is covered by the Electronic
 Communications Privacy Act, 18 U.S.C. Sections 2510-2521, is confidential, and may be legally privileged. If
 you are not the intended recipient, you are hereby notified that any retention, dissemination, distribution,
 or copying of this communication is strictly prohibited. If you have received the message in error, please
 reply to notify the sender and then delete the message. Thank you.

  https://lcardapp.com/lcard/timothy.parlatore-51814




 On Wed, Mar 15, 2023 at 12:16 PM, Houghton-Larsen, M Annie <MHoughton-
 Larsen@willkie.com> wrote:
Case 1:23-cv-03754-BAH            Document 36-10        Filed 01/08/25       Page 7 of 14


   Mr. Parlatore,

   I write to follow up on the below proposal. Please promptly advise.

   Thank you,
   Annie

   M.Annie Houghton-Larsen
   Willkie Farr & Gallagher LLP
   787 Seventh Avenue | New York, NY 10019-6099
   Direct: +1 212 728 8164 | Fax: +1 212 728 9164
   mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
   Pronouns: she, her, hers


   From: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
   Sent: Monday, March 13, 2023 8:52 PM
   To: 'Timothy Parlatore, Esq.' <timothy.parlatore@parlatorelawgroup.com>
   Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
   <MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Joe Sibley
   <sibley@camarasibley.com>
   Subject: RE: Kerik Deposition - 3/20/2023

   Mr. Parlatore,

   We are open to your proposal to shift the deposition location to DC, and could agree to
   provide the same travel expenses we offered to you (the cost of a round trip train ticket for
   Mr. Kerik), if (1) you promptly provide us with one or more specific dates in the near future
   on which Mr. Kerik and you are available; and (2) you agree in writing that you will accept
   service by email, without conditions, of a revised subpoena reflecting the new location and
   date. Plaintiffs are available to March 20-23. Please promptly advise.

   I should note, with respect to your stated privilege concerns, that Mr. Giuliani testified on
   the record for the full seven hours, including extensive testimony regarding the work that
   Mr. Kerik and Mr. Giuliani did together relating to our clients, and during the entire
   deposition there was only one privilege objection, which we were able to resolve. (This
   privilege objection was not related to Mr. Kerik or Mr. Kerik’s work.) Thus, your supposition
   regarding the obstacles privilege will pose has already been disproven by Mr. Giuliani’s
   testimony under oath. If you have any lingering concerns, they can quickly be addressed in
   a conversation with Mr. Sibley, who will confirm for you what I have just stated.

   Thank you,
   Annie




   M.Annie Houghton-Larsen
   Willkie Farr & Gallagher LLP
Case 1:23-cv-03754-BAH              Document 36-10             Filed 01/08/25          Page 8 of 14


   787 Seventh Avenue | New York, NY 10019-6099
   Direct: +1 212 728 8164 | Fax: +1 212 728 9164
   mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
   Pronouns: she, her, hers


   From: Timothy Parlatore, Esq. <timothy.parlatore@parlatorelawgroup.com>
   Sent: Monday, March 13, 2023 5:25 PM
   To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
   Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
   <MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Joe Sibley
   <sibley@camarasibley.com>
   Subject: RE: Kerik Deposition - 3/20/2023

                                    *** EXTERNAL EMAIL ***

   I generally have no need to go to New York because everyone else uses remote
   appearances/depositions, so this would need to be a special trip. Your snide comment
   notwithstanding, it is industry standard to charge for travel time, usually half the
   normal hourly rate, though I'm sure a firm like yours charges far more.

   As we have stated many times, Mr. Kerik served as an investigator under Mr. Giuliani
   and, as such, all of his activities are covered under the work-product privilege. I
   imagine that there will be very little that he can answer without privilege objections.
   However, given your claims here about Mr. Guiliani, perhaps it would help if you
   work with Mr. Sibley to get me a list of areas where the privilege may have been
   waived? Otherwise, we are going to waste a lot of time and money for you to pretend
   to be mad at Mr. Kerik in person.

   I spoke with Mr. Kerik and, if you are willing to cover his travel expenses, he is
   willing to come to DC for the deposition.




   CONFIDENTIAL NOTICE: This E-mail (including any attachments) is covered by the Electronic
   Communications Privacy Act, 18 U.S.C. Sections 2510-2521, is confidential, and may be legally
   privileged. If you are not the intended recipient, you are hereby notified that any retention,
   dissemination, distribution, or copying of this communication is strictly prohibited. If you have received
   the message in error, please reply to notify the sender and then delete the message. Thank you.

   https://lcardapp.com/lcard/timothy.parlatore-51814




   On Mon, Mar 13, 2023 at 3:18 PM, Houghton-Larsen, M Annie <MHoughton-
   Larsen@willkie.com> wrote:
     Mr. Parlatore,
Case 1:23-cv-03754-BAH          Document 36-10          Filed 01/08/25        Page 9 of 14



     No. Our offer is as stated in our email. We were unaware that you charge your clients an
     hourly rate for “travel” time, but your decision to do so is between you and your clients
     —we are quite certain no court has ever quashed a properly served subpoena on such a
     basis. Of course, another option should you choose it is for you to appear by Zoom while
     your client appears in person; still another option would be to designate local counsel
     who (unlike you) is willing and able to represent Mr. Kerik where he actually resides.
     And, of course, we’ve now offered to work with you on a convenient date (such as when
     you might have other reasons to be up in New York) several times, all of which you have
     dismissed out of hand without explanation.

     Separately, you have now asserted numerous times that Mr. Kerik is an unimportant or
     inconsequential witness. As we have previously explained, that assertion is false. In any
     event, Mr. Kerik’s friend and supervisor for purposes of the issues in this litigation, Mayor
     Giuliani, testified to the contrary during his deposition, even directing us to pose certain
     questions to Mr. Kerik on issues central to the litigation.

     We have been at this for some time now, and we have made multiple offers to
     accommodate your purported concerns. If you find all of them unsatisfactory, then you
     should go ahead and file your motion; otherwise, we will see you and your client next
     Monday.

     Thanks,
     Annie



     M.Annie Houghton-Larsen
     Willkie Farr & Gallagher LLP
     787 Seventh Avenue | New York, NY 10019-6099
     Direct: +1 212 728 8164 | Fax: +1 212 728 9164
     mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
     Pronouns: she, her, hers


     From: Timothy Parlatore, Esq. <timothy.parlatore@parlatorelawgroup.com>
     Sent: Monday, March 13, 2023 2:46 PM
     To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
     Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
     <MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Joe Sibley
     <sibley@camarasibley.com>
     Subject: RE: Kerik Deposition - 3/20/2023

                                  *** EXTERNAL EMAIL ***

     Are you going to pay for my hourly rate for travel as well? Seems a lot of money
     for you all to want to spend for a relatively inconsequential deposition.
Case 1:23-cv-03754-BAH            Document 36-10             Filed 01/08/25         Page 10 of 14




     CONFIDENTIAL NOTICE: This E-mail (including any attachments) is covered by the Electronic
     Communications Privacy Act, 18 U.S.C. Sections 2510-2521, is confidential, and may be legally
     privileged. If you are not the intended recipient, you are hereby notified that any retention,
     dissemination, distribution, or copying of this communication is strictly prohibited. If you have
     received the message in error, please reply to notify the sender and then delete the message. Thank
     you.

      https://lcardapp.com/lcard/timothy.parlatore-51814




     On Mon, Mar 13, 2023 at 2:38 PM, Houghton-Larsen, M Annie <MHoughton-
     Larsen@willkie.com> wrote:
        Mr. Parlatore,

        This is the first time you are raising cost as an issue. We will cover all reasonable costs
        (mileage, tolls, parking) of Mr. Kerik’s commute to and from New Jersey, and even
        though the rules do not contemplate an attorney making demands based on his
        representation of a client in another jurisdiction, we nonetheless will agree to
        purchase you a train ticket to allow you to travel to and from DC on the day of the
        deposition, and we will provide food at the deposition, such that Mr. Kerik will not
        incur those expenses. We assume that will be a workable solution, and please provide
        us the best address to which we may tender Mr. Kerik’s witness fee.

        Thanks,
        Annie


        M.Annie Houghton-Larsen
        Willkie Farr & Gallagher LLP
        787 Seventh Avenue | New York, NY 10019-6099
        Direct: +1 212 728 8164 | Fax: +1 212 728 9164
        mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
        Pronouns: she, her, hers


        From: Timothy Parlatore, Esq. <timothy.parlatore@parlatorelawgroup.com>
        Sent: Monday, March 13, 2023 2:09 PM
        To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
        Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
        <MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>; Joe
        Sibley <sibley@camarasibley.com>
        Subject: RE: Kerik Deposition - 3/20/2023
Case 1:23-cv-03754-BAH           Document 36-10             Filed 01/08/25         Page 11 of 14


                                     *** EXTERNAL EMAIL ***

       As I have tried to work this out with you and you are inflexible on the remote
       aspect, you have left me with no choice but to seek judicial intervention.

       There is absolutely no justification for increasing the cost to Mr. Kerik just
       because you are afraid of technical issues with Zoom - a well tested and workable
       solution that most of us have been using quite effectively for the past few years.
       Mr. Kerik is a third-party witness with little to no non-privileged information to
       add to these proceedings, so it makes no sense for him to spend additional money
       to either have me travel or to travel himself, just to watch you feign outrage that
       he won't violate privilege.




       CONFIDENTIAL NOTICE: This E-mail (including any attachments) is covered by the Electronic
       Communications Privacy Act, 18 U.S.C. Sections 2510-2521, is confidential, and may be legally
       privileged. If you are not the intended recipient, you are hereby notified that any retention,
       dissemination, distribution, or copying of this communication is strictly prohibited. If you have
       received the message in error, please reply to notify the sender and then delete the message. Thank
       you.

        https://lcardapp.com/lcard/timothy.parlatore-51814




       On Mon, Mar 13, 2023 at 1:33 PM, Houghton-Larsen, M Annie <MHoughton-
       Larsen@willkie.com> wrote:
          Mr. Parlatore,

          We haven’t received any communication from you since we personally served your
          client on March 5, 2023. If you have another date that will work for you and your
          client, please provide that date without delay so that we may consider it. We will
          not agree to a remote deposition, given that the sole reason you have provided over
          months of discussions now is that you prefer not to travel to the jurisdiction in
          which your client resides and was served.

          Thanks,
          Annie


          M.Annie Houghton-Larsen
          Willkie Farr & Gallagher LLP
          787 Seventh Avenue | New York, NY 10019-6099
          Direct: +1 212 728 8164 | Fax: +1 212 728 9164
          mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Case 1:23-cv-03754-BAH          Document 36-10             Filed 01/08/25          Page 12 of 14


         Pronouns: she, her, hers


         From: Timothy Parlatore, Esq. <timothy.parlatore@parlatorelawgroup.com>
         Sent: Monday, March 13, 2023 1:20 PM
         To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
         Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
         <MGovernski@willkie.com>; MacCurdy, Maggie <MMacCurdy@willkie.com>
         Subject: Re: Kerik Deposition - 3/20/2023

                                      *** EXTERNAL EMAIL ***

         As previously stated, we will be filing a motion before that time. I stated this
         as a courtesy, so that you would not have to waste time discussing logistics of
         a deposition that will almost certainly not be occurring in person or on that
         date.




         CONFIDENTIAL NOTICE: This E-mail (including any attachments) is covered by the Electronic
         Communications Privacy Act, 18 U.S.C. Sections 2510-2521, is confidential, and may be legally
         privileged. If you are not the intended recipient, you are hereby notified that any retention,
         dissemination, distribution, or copying of this communication is strictly prohibited. If you have
         received the message in error, please reply to notify the sender and then delete the message.
         Thank you.

         https://lcardapp.com/lcard/timothy.parlatore-51814




         On Mon, Mar 13, 2023 at 1:15 PM, Houghton-Larsen, M Annie <MHoughton-
         Larsen@willkie.com> wrote:
           Mr. Parlatore,

           We look forward to Mr. Kerik’s deposition next Monday, March 20. Please
           advise whether you and/or anyone else intends to accompany him so that we
           may share names with security. Separately, while the served notice
           designates 9:30AM as a start time, we would be open to moving that start
           time a bit later to 10AM if you or Mr. Kerik would be amenable to doing so.
           Please let me know at your earliest convenience.

           Thank you,
           Annie

           M.Annie Houghton-Larsen
           Willkie Farr & Gallagher LLP
           787 Seventh Avenue | New York, NY 10019-6099
Case 1:23-cv-03754-BAH            Document 36-10            Filed 01/08/25         Page 13 of 14


              Direct: +1 212 728 8164 | Fax: +1 212 728 9164
              mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
              Pronouns: she, her, hers



              Important Notice: This email message is intended to be received only by persons
              entitled to receive the confidential information it may contain. Email messages to
              clients of Willkie Farr & Gallagher LLP presumptively contain information that is
              confidential and legally privileged; email messages to non-clients are normally
              confidential and may also be legally privileged. Please do not read, copy, forward or
              store this message unless you are an intended recipient of it. If you have received this
              message in error, please forward it back. Willkie Farr & Gallagher LLP is a limited
              liability partnership organized in the United States under the laws of the State of
              Delaware, which laws limit the personal liability of partners.




            Important Notice: This email message is intended to be received only by persons
            entitled to receive the confidential information it may contain. Email messages to clients
            of Willkie Farr & Gallagher LLP presumptively contain information that is confidential and
            legally privileged; email messages to non-clients are normally confidential and may also
            be legally privileged. Please do not read, copy, forward or store this message unless
            you are an intended recipient of it. If you have received this message in error, please
            forward it back. Willkie Farr & Gallagher LLP is a limited liability partnership organized in
            the United States under the laws of the State of Delaware, which laws limit the personal
            liability of partners.




         Important Notice: This email message is intended to be received only by persons entitled
         to receive the confidential information it may contain. Email messages to clients of Willkie
         Farr & Gallagher LLP presumptively contain information that is confidential and legally
         privileged; email messages to non-clients are normally confidential and may also be legally
         privileged. Please do not read, copy, forward or store this message unless you are an
         intended recipient of it. If you have received this message in error, please forward it back.
         Willkie Farr & Gallagher LLP is a limited liability partnership organized in the United States
         under the laws of the State of Delaware, which laws limit the personal liability of partners.



      Important Notice: This email message is intended to be received only by persons entitled to
      receive the confidential information it may contain. Email messages to clients of Willkie Farr &
      Gallagher LLP presumptively contain information that is confidential and legally privileged;
      email messages to non-clients are normally confidential and may also be legally privileged.
      Please do not read, copy, forward or store this message unless you are an intended recipient
      of it. If you have received this message in error, please forward it back. Willkie Farr &
      Gallagher LLP is a limited liability partnership organized in the United States under the laws
      of the State of Delaware, which laws limit the personal liability of partners.



    Important Notice: This email message is intended to be received only by persons entitled to
    receive the confidential information it may contain. Email messages to clients of Willkie Farr &
    Gallagher LLP presumptively contain information that is confidential and legally privileged; email
    messages to non-clients are normally confidential and may also be legally privileged. Please do
Case 1:23-cv-03754-BAH               Document 36-10            Filed 01/08/25         Page 14 of 14


      not read, copy, forward or store this message unless you are an intended recipient of it. If you
      have received this message in error, please forward it back. Willkie Farr & Gallagher LLP is a
      limited liability partnership organized in the United States under the laws of the State of
      Delaware, which laws limit the personal liability of partners.



   Important Notice: This email message is intended to be received only by persons entitled to
   receive the confidential information it may contain. Email messages to clients of Willkie Farr &
   Gallagher LLP presumptively contain information that is confidential and legally privileged; email
   messages to non-clients are normally confidential and may also be legally privileged. Please do
   not read, copy, forward or store this message unless you are an intended recipient of it. If you have
   received this message in error, please forward it back. Willkie Farr & Gallagher LLP is a limited
   liability partnership organized in the United States under the laws of the State of Delaware, which
   laws limit the personal liability of partners.



 Important Notice: This email message is intended to be received only by persons entitled to receive
 the confidential information it may contain. Email messages to clients of Willkie Farr & Gallagher LLP
 presumptively contain information that is confidential and legally privileged; email messages to non-
 clients are normally confidential and may also be legally privileged. Please do not read, copy, forward
 or store this message unless you are an intended recipient of it. If you have received this message in
 error, please forward it back. Willkie Farr & Gallagher LLP is a limited liability partnership organized in
 the United States under the laws of the State of Delaware, which laws limit the personal liability of
 partners.

Important Notice: This email message is intended to be received only by persons entitled to
receive the confidential information it may contain. Email messages to clients of Willkie
Farr & Gallagher LLP presumptively contain information that is confidential and legally
privileged; email messages to non-clients are normally confidential and may also be legally
privileged. Please do not read, copy, forward or store this message unless you are an
intended recipient of it. If you have received this message in error, please forward it back.
Willkie Farr & Gallagher LLP is a limited liability partnership organized in the United
States under the laws of the State of Delaware, which laws limit the personal liability of
partners.
